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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 BRIAN HUDDLESTON,                            §
                                              §
                          Plaintiff,          §
                                              §      CIVIL ACTION No. 4:20CV447
 v.                                           §
                                              §
 FEDERAL BUREAU OF                            §
 INVESTIGATION and UNITED                     §      JUDGE AMOS MAZZANT
 STATES DEPARTMENT OF JUSTICE,                §
                                              §
                          Defendants.         §

      DEFENDANTS’ UNOPPOSED MOTION TO STAY BRIEFING SCHEDULE

        Defendants Federal Bureau of Investigation (“FBI”) and United States Department

of Justice (“DOJ”) move to stay the briefing schedule for thirty (30) days so that FBI can

perform two additional searches and hopefully resolve the issues regarding the adequacy

of Defendant FBI’s searches currently being briefed by the parties.

        On December 16, 2021, Defendants filed a Motion for Summary Judgment. [ECF

39]. On February 7, 2022, Plaintiff filed a Response in Opposition to Defendants’ Motion

for Summary Judgment and Cross-Motion for Summary Judgment. [ECF 46]. Defendants’

reply brief is due on or before February 28, 2022.

        In an effort to simplify the issues pending before the Court, the FBI has agreed to

conduct two additional searches, which the FBI will strive to complete within thirty days.

On March 30, 2022, upon completion of the searches, the FBI will provide a status report

to the Plaintiff and to the Court detailing the results of the searches. Depending on whether



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responsive records are retrieved, the FBI will either propose a production schedule of any

responsive records or request reinstatement of the briefing schedule. Plaintiff’s counsel has

indicated that he does not oppose this motion.

        This motion for stay is not made for purposes of delay, but to simplify the issues

pending before this Court.

                                          Respectfully submitted,

                                          BRIT FEATHERSTON
                                          UNITED STATES ATTORNEY


                                          /s/ Andrea L. Parker
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                                   CERTIFICATE OF SERVICE

        I certify that on February 24, 2022, a true and correct copy of Defendants’

Unopposed Motion to Stay Briefing Schedule was filed electronically with the court and

has been sent to counsel of record via the court’s electronic filing system.

                                           /s/ Andrea L. Parker
                                           ANDREA L. PARKER
                                           Assistant United States Attorney


                               CERTIFICATE OF CONFERENCE

        In compliance with Local Rule CV-7(h), I certify that I have conferred with

plaintiff’s counsel, and he does not oppose this motion.

                                           /s/ Andrea L. Parker
                                           ANDREA L. PARKER
                                           Assistant United States Attorney




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